     Case 1:25-cv-00716-BAH        Document 82       Filed 04/07/25     Page 1 of 11




                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


PERKINS COIE LLP,

             Plaintiff,
                                                 Civil Action No. 25-716 (BAH)
      v.

U.S. DEPARTMENT OF JUSTICE, et. al.,

             Defendants.


    BRIEF OF AMICI CURIAE 518 LAW FIRMS IN SUPPORT OF PLAINTIFF’S
     MOTION FOR SUMMARY JUDGMENT AND FOR DECLARATORY AND
                       PERMANENT INJUNCTION

Nathan P. Eimer (pro hac vice forthcoming)    Donald B. Verrilli, Jr. (D.C. Bar. No. 420434)
EIMER STAHL LLP                               MUNGER, TOLLES & OLSON LLP
224 South Michigan Avenue, Suite 1100         601 Massachusetts Ave. NW, Suite 500E
Chicago, IL 60604                             Washington, D.C. 20001-5369
Telephone: (312) 660-7600                     Telephone: (202) 220-1100
Fax: (312) 692-1718                           Fax: (202) 220-2300
neimer@eimerstahl.com                         Donald.Verrilli@mto.com

                                 Counsel for Amici Curiae
       Case 1:25-cv-00716-BAH        Document 82      Filed 04/07/25     Page 2 of 11




                       CORPORATE DISCLOSURE STATEMENT

       Amici curiae are law firms and legal corporations. They have no parent corporations and

do not issue stock.




                                              i
         Case 1:25-cv-00716-BAH                         Document 82               Filed 04/07/25              Page 3 of 11




                                                  TABLE OF CONTENTS

CORPORATE DISCLOSURE STATEMENT ............................................................................... i
TABLE OF CONTENTS................................................................................................................ ii
TABLE OF AUTHORITIES .........................................................................................................iii
INTEREST OF AMICI CURIAE .....................................................................................................1
ARGUMENT ...................................................................................................................................2
CONCLUSION ................................................................................................................................5




                                                                     ii
         Case 1:25-cv-00716-BAH                         Document 82               Filed 04/07/25              Page 4 of 11




                                                TABLE OF AUTHORITIES

                                                                                                                                 Page(s)
FEDERAL CASES

Boumediene v. Bush,
   553 U.S. 723 (2008) ...................................................................................................................4

Consumer Financial Protection Bureau v. Community Financial Services Ass’n,
   601 U.S. 416 (2024) ...................................................................................................................4

Cooper v. Aaron,
   358 U.S. 1 (1958) .......................................................................................................................1

Legal Services Corp. v. Velazquez,
   531 U.S. 533 (2001) ...................................................................................................................2

Marbury v. Madison,
  5 U.S. 137 (1803) .......................................................................................................................4

Martinez v. Ryan,
  566 U.S. 1 (2012) .......................................................................................................................2

National Rifle Ass’n v. Vullo,
   602 U.S. 175 (2024) ...................................................................................................................4

NFIB v. Sebelius,
   567 U.S. 519 (2012) ...................................................................................................................4

Sacher v. United States,
   343 U.S. 1 (1952) .......................................................................................................................3

Seila Law LLC v. Consumer Financial Protection Bureau,
    591 U.S. 197 (2020) ...................................................................................................................4

OTHER

Addressing Risks from WilmerHale, The White House (Mar. 28, 2025),
   https://tinyurl.com/4m8a79jn .....................................................................................................1

Addressing Risks from Jenner & Block, The White House (Mar. 25, 2025),
   https://tinyurl.com/u7ts9x49 ......................................................................................................1

Addressing Risks from Paul Weiss, The White House (Mar. 14, 2025),
   https://tinyurl.com/5w4j69fv .................................................................................................1, 3

Suspension of Security Clearances and Evaluation of Government Contracts (Feb. 25, 2025),
   https://tinyurl.com/3yxdrmfp .....................................................................................................1


                                                                    iii
         Case 1:25-cv-00716-BAH          Document 82        Filed 04/07/25     Page 5 of 11




                                INTEREST OF AMICI CURIAE 1

         This amicus brief is filed on behalf of many of this Nation’s leading law firms. 2

Although we do not take this step lightly, our abiding commitment to preserving the integrity of

the American legal system leaves us no choice but to join together to oppose the March 6, 2025

Executive Order entitled “Addressing Risks from Perkins Coie LLP” (the “Executive Order”)

that is at issue in this litigation. The Executive Order (which is now subject to a temporary

restraining order) should be permanently enjoined as a violation of core First, Fifth, and Sixth

Amendment guarantees, as well as bedrock separation-of-powers principles.

         But something even more fundamental is at stake. In recent weeks, the President has

issued not one but five executive orders imposing punitive sanctions on leading law firms in

undisguised retaliation for representations that the firm, or its former partners, have undertaken,

and more may be in the offing. 3 Those Orders pose a grave threat to our system of constitutional

governance and to the rule of law itself. The judiciary should act with resolve—now—to ensure

that this abuse of executive power ceases. Cf. Cooper v. Aaron, 358 U.S. 1 (1958).




1
 In accordance with Federal Rule of Appellate Procedure 29(a)(4)(E), amici certify that (1) this
brief was authored entirely by counsel for amici curiae and not by counsel for any party, in
whole or part; (2) no party or counsel for any party contributed money to fund preparing or
submitting this brief; and (3) apart from counsel for amici curiae, no other person contributed
money to fund preparing or submitting this brief.
2
    The individual amici are described in Appendix A.
3
 See Addressing Risks from WilmerHale, The White House (Mar. 28, 2025) (“WilmerHale
Order”), https://tinyurl.com/4m8a79jn; Addressing Risks from Jenner & Block, The White
House (Mar. 25, 2025) (“Jenner Order”), https://tinyurl.com/u7ts9x49; Addressing Risks from
Paul Weiss, The White House (Mar. 14, 2025) (“Paul Weiss Order”),
https://tinyurl.com/5w4j69fv; Suspension of Security Clearances and Evaluation of Government
Contracts (Feb. 25, 2025), https://tinyurl.com/3yxdrmfp.

                                                  1
       Case 1:25-cv-00716-BAH            Document 82        Filed 04/07/25      Page 6 of 11




                                           ARGUMENT

       1. The Executive Order at issue in this case, and the others like it, take direct aim at

several of the Nation’s leading law firms and seek to cow every other firm, large and small, into

submission. On the basis of almost-decade-old allegations, the Executive Order subjects an

entire firm, as well as its clients and personnel, to draconian punishment—including the

revocation of its attorneys’ security clearances, the potential loss of clients that contract with the

United States, and denial of access to federal buildings and facilities. Such disabilities would

threaten the survival of any law firm.

       2. The looming threat posed by the Executive Order at issue in this case and the others

like it is not lost on anyone practicing law in this country today: any controversial representation

challenging actions of the current administration (or even causes it disfavors) now brings with it

the risk of devastating retaliation. Whatever short-term advantage an administration may gain

from exercising power in this way, the rule of law cannot long endure in the climate of fear that

such actions create. Our adversarial system depends upon zealous advocates litigating each side

of a case with equal vigor; that is how impartial judges arrive at just, informed decisions that

vindicate the rule of law. See Legal Services Corp. v. Velazquez, 531 U.S. 533, 545 (2001) (“An

informed, independent judiciary presumes an informed, independent bar.”). In the same vein, it

is a deeply held principle of the legal profession that everyone, no matter their actions or beliefs,

is entitled to zealous advocacy on their behalf. See Martinez v. Ryan, 566 U.S. 1, 12 (2012)

(“[T]he right to counsel is the foundation for our adversary system”). The principle is so deeply

ingrained that lawyers—going back to John Adams’ defense of eight British soldiers who

perpetrated the Boston Massacre of 1770—consider it a core part of their professional obligation

to take on representation of clients with whom they disagree, even vehemently. Indeed, the



                                                  2
       Case 1:25-cv-00716-BAH           Document 82         Filed 04/07/25      Page 7 of 11




“courage” of attorneys who take on unpopular clients has long “made lawyerdom proud.”

Sacher v. United States, 343 U.S. 1, 4 (1952).

       The work done by amici, and other firms like them, is indispensable to the success of our

system. Many advocate for the interests of the Nation’s leading business and financial

institutions, which depend on the stability of the rule of law in order to thrive economically.

Others advocate for the interests of small businesses, nonprofit organizations, consumers,

workers and other individuals, and likewise depend on the impartial administration of justice to

advance their clients’ objectives. Individuals at these firms hold a wide range of political, social

and economic views—even with respect to the representations attacked in the executive orders.

But despite those differences amici are united in their support for the integrity of the adversarial

system and the rule of law.

       3. The role of amici and firms like them is particularly important when a law firm

represents a client challenging the actions of a president or his administration, Republican or

Democratic. Checking federal government overreach, whether it be infringements on religious

liberty, assaults on the freedom of the press, or burdensome regulation, is a vital part of what

amici and others like them are called to do. By definition, such litigation brings lawyers into

conflict with the policies and objectives of the Executive Branch.

       Since this Court entered its Temporary Restraining Order, the Administration has

redoubled its threats of retaliation against the legal profession. In that regard, the express

targeting of law firm pro bono efforts in the three most recent executive orders—which attack

those firms’ pro bono representations as “activities that make our communities less safe, increase

burdens on local businesses, limit constitutional freedoms, and degrade the quality of American

elections”—is cause for particularly acute concern. Paul Weiss Order, § 1. For our system of



                                                  3
         Case 1:25-cv-00716-BAH           Document 82      Filed 04/07/25      Page 8 of 11




justice to operate, members of the bar must be free to advocate zealously for all their clients,

large and small, rich and poor, without fear of retribution. They must be free, in the words of

Chief Justice Marshall, to defend “the right of every individual to claim the protection of the

laws.” Marbury v. Madison, 5 U.S. 137, 163 (1803). Without such zealous advocacy, there is

no prospect of equal justice under law.

         4. History offers indelible reminders of the perils associated with governmental intrusion

into the autonomy of the legal system and with political retribution aimed at lawyers thought to

stand in the way of a regime’s political objectives. In too many countries and instances to name,

regimes have disbarred, prosecuted and jailed lawyers who dared to represent opposition figures

or challenge government actions, with predictable results for the rule of law and the integrity of

the legal profession.

         Fortunately, such abuses have been rare in our country’s history. Over the past two

decades alone, elite law firms have represented clients seeking to invalidate major presidential

initiatives, from the Military Commissions Act of 2006 4 to the Affordable Care Act 5 and the

Dodd-Frank Act. 6 Until now, it would have been inconceivable that a law firm would risk

punitive retribution from the federal government for undertaking representations of this kind.

And when state or local governments have attempted to wield the threat of official retribution to

deter entities from advocating for what they believe, the Supreme Court has condemned such

actions in clear and decisive terms. E.g. National Rifle Ass’n v. Vullo, 602 U.S. 175, 189 (2024)

(“[T]he First Amendment prohibits government officials from relying on the threat of invoking


4
    Boumediene v. Bush, 553 U.S. 723 (2008).
5
    NFIB v. Sebelius, 567 U.S. 519 (2012).
6
 Seila Law LLC v. Consumer Financial Protection Bureau, 591 U.S. 197 (2020); Consumer
Financial Protection Bureau v. Community Financial Services Ass’n, 601 U.S. 416 (2024).

                                                 4
       Case 1:25-cv-00716-BAH           Document 82        Filed 04/07/25      Page 9 of 11




legal sanctions and other means of coercion … to achieve the suppression of disfavored speech.”

(citation omitted)). But that proud tradition is in jeopardy. Unless the judiciary acts decisively

now, what was once beyond the pale will in short order become a stark reality. Corporations and

individuals alike will risk losing their right to be represented by the law firms of their choice and

a profound chill will be cast over the First Amendment right to petition the courts for redress.

        5. Like every lawyer, the members of the amicus law firms have sworn an oath to uphold

the Constitution and to discharge the obligations of the profession to the best of our ability. That

oath obligates all of us, no matter our political views, to be faithful custodians of our Nation’s

commitment to the rule of law—a commitment that has made it possible for this Nation’s

corporations to lead the world in innovation and productivity; for our scientists, scholars and

creative artists to contribute so much to human progress; and for all of us to know that we can

turn to the courts to vindicate our fundamental civil rights. We therefore feel a special

responsibility to stand up now to the unprecedented threat posed by the Executive Order at issue

in this case and the others like it.

                                          CONCLUSION

        For the foregoing reasons, this Court should grant the motion for permanent injunction.




                                                  5
     Case 1:25-cv-00716-BAH         Document 82       Filed 04/07/25     Page 10 of 11




Dated: April 4, 2025


                                                 /s/ Donald B. Verrilli, Jr.
Nathan P. Eimer (pro hac vice forthcoming)       Donald B. Verrilli, Jr. (D.C. Bar. No. 420434)
EIMER STAHL LLP                                  MUNGER, TOLLES & OLSON LLP
224 South Michigan Avenue, Suite 1100            601 Massachusetts Ave. NW, Suite 500E
Chicago, IL 60604                                Washington, D.C. 20001-5369
Telephone: (312) 660-7600                        Telephone: (202) 220-1100
Fax: (312) 692-1718                              Fax: (202) 220-2300
neimer@eimerstahl.com                            Donald.Verrilli@mto.com

                                  Counsel for Amici Curiae




                                             6
      Case 1:25-cv-00716-BAH          Document 82         Filed 04/07/25      Page 11 of 11




                             CERTIFICATE OF COMPLIANCE

       I hereby certify that the foregoing complies with Local Civil Rule 7(o)(4) and does not

exceed 25 pages. I further certify that the attached amicus brief complies with the typeface and

type style requirements of Local Rule 5.1(d) because it has been prepared in a proportionally

spaced typeface using Microsoft Word and 12-point Times New Roman font.

Dated: April 4, 2025                                /s/ Donald B. Verrilli, Jr.
                                                    Donald B. Verrilli, Jr.




                                                7
